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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF KENTUCKY
                            AT LOUISVILLE


     UNITED STATES OF AMERICA                                 PLAINTIFF

     v.                     CRIMINAL ACTION NO. 3:19-CR-00208-RGJ

     JOSEPH SAMIR ZAKHARI                                  DEFENDANT


                                    ORDER
           Defendant Zakhari having moved to suppress certain

     evidence obtained by the government and having requested an

     evidentiary hearing concerning the matter, and the Court having
     reviewed this matter and being otherwise sufficiently advised,

           IT IS HEREBY ORDERED that Defendant’s Motion is

     GRANTED. The Court shall conduct an evidentiary hearing on the
     ____ day of _____________, 2020, at __:__ _.m.
